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11/16/2018 09:11 AM CST




                                                          - 485 -
                                  Nebraska Supreme Court A dvance Sheets
                                          301 Nebraska R eports
                                STATE EX REL. COUNSEL FOR DIS. v. LUNDSTROM
                                              Cite as 301 Neb. 485



                          State     of   Nebraska ex rel. Counsel for Discipline
                              of the      Nebraska Supreme Court, relator, v.
                                        Gilbert G. Lundstrom, respondent.
                                                     ___ N.W.2d ___

                                          Filed November 2, 2018.   No. S-18-872.

                    Original action. Judgment of disbarment.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                    Per Curiam.
                                      INTRODUCTION
                  This case is before the court on the voluntary surren-
               der of license filed by respondent, Gilbert G. Lundstrom, on
               September 13, 2018. The court accepts respondent’s voluntary
               surrender of his license and enters a judgment of disbarment.

                                  STATEMENT OF FACTS
                  Respondent was admitted to the practice of law in the State
               of Nebraska on June 16, 1969. His license is currently inac-
               tive. On September 13, 2018, respondent filed a voluntary
               surrender of license to practice law, in which he stated that he
               had been convicted in the U.S. District Court for the District
               of Nebraska of 12 different criminal counts of fraud-related
               felony charges. According to his voluntary surrender, respond­
               ent was sentenced to 132 months’ imprisonment and ordered
               to pay restitution. Respondent indicates that the Counsel for
               Discipline could seek disciplinary action against his license
                             - 486 -
           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
          STATE EX REL. COUNSEL FOR DIS. v. LUNDSTROM
                        Cite as 301 Neb. 485
for this violation. In his voluntary surrender, respondent states
that he freely, knowingly, and voluntarily surrenders his privi-
lege to practice law in the State of Nebraska; waives his right
to notice, appearance, or hearing prior to the entry of an order
of disbarment; and consents to the entry of an immediate
order of disbarment. The Counsel for Discipline, being aware
of respondent’s federal case, has not objected to the volun-
tary surrender.

                          ANALYSIS
   Neb. Ct. R. § 3-315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
Pursuant to § 3-315 of the disciplinary rules, we find that
respondent has voluntarily surrendered his license to practice
law and knowingly does not challenge or contest the truth of
the allegations that could be made against him in connection
with his fraud-related convictions. Further, respondent has
waived all proceedings against him in connection therewith.
We further find that respondent has consented to the entry of
an order of disbarment.

                        CONCLUSION
   Upon due consideration of the court file in this matter, the
court finds that respondent has stated that he freely, know-
ingly, and voluntarily admits that he does not contest the sug-
gested allegations being made against him. The court accepts
                            - 487 -
          Nebraska Supreme Court A dvance Sheets
                  301 Nebraska R eports
          STATE EX REL. COUNSEL FOR DIS. v. LUNDSTROM
                        Cite as 301 Neb. 485
respond­ent’s voluntary surrender of his license to practice
law, finds that respondent should be disbarred, and hereby
orders him disbarred from the practice of law in the State of
Nebraska, effective immediately. Respondent shall forthwith
comply with all terms of Neb. Ct. R. § 3-316 (rev. 2014) of
the disciplinary rules, and upon failure to do so, he shall be
subject to punishment for contempt of this court. Accordingly,
respondent is directed to pay costs and expenses in accordance
with Neb. Rev. Stat. §§ 7-114 and 7-115 (Reissue 2012) and
Neb. Ct. R. §§ 3-310(P) (rev. 2014) and 3-323 of the disci-
plinary rules within 60 days after an order imposing costs and
expenses, if any, is entered by the court.
                                     Judgment of disbarment.
